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                                 3200 Tower Oaks Blvd. Suite 400 Rockville, MD 20852
                                      (Phone) 301-622-7800 (Fax) 301-622-3373


Dear Austyn Mattson:
On behalf of WTS International, Inc., I am pleased to extend a conditional offer of employment for the position of
Bartender at Epperson.
We would like you to start work on 5/13/2019. This is a(n) Part Time position. In this capacity you will be paid a
rate as follows:

        USD $5.33 per Hour for Regular Rate
        USD $10.00 per Hour for Training/Meetings
         per for
         per for
         per for
For instructional positions, all service, class, or session rates include all time spent setting up for the service, class
or session and after service, class or session clean up. The offer described above is contingent upon the results of
your reference/background check/drug screen, if applicable.

A summary of your applicable benefits will be given to you with any required new hire paperwork. If you have any
questions, please contact the Human Resources Department. The telephone number is301-622-7800.

On or before your first day of work you will be required to complete all new hire paperwork. As part of our new
hire process, you will be asked to complete a Form I-9 in compliance with the Immigration Reform and Control Act.
As part of this compliance, you must present us with documents which identify you and indicate you are eligible to
work in the United States. If you have any questions about this documentation, please contact the Human
Resources department.

Just as you retain the right to resign, without notice or cause, WTS International, Inc. has the same right with
respect to termination. Your employment is for no definite term, regardless of any oral or written statement by
any WTS International, Inc. officer or representative.

We look forward to hearing from you about this offer. Please indicate your acceptance of our offer by signing
below and returning one copy and letter, with your original signature. This offer of employment will expire seven
days from the date of this letter 5/7/2019.

We believe WTS International, Inc. is an outstanding organization and you will become a valuable, enthusiastic
member of our team. Welcome to WTS international, Inc.

Sincerely,

Aaron Taylor, WTS International, Inc.



Acknowledged and accepted:
Signature (By checking the box below you are applying your signature and you agree to this Applicant Statement).

                     Austyn Mattson                                                5/8/2019 10:23 AM
Case 8:20-cv-01245-CEH-AEP Document 1-1 Filed 05/29/20 Page 2 of 8 PageID 17



Employee acknowledges and agrees that WTS International, Inc. (hereafter, “Company”) is engaged in a highly
competitive business and will be given access to Confidential Information, Trade Secrets, and specialized training
and methods in the course of employment. Employee further acknowledges that the protection and secrecy of
Company’s Confidential Information, Trade Secrets, and specialized training and methods constitutes legitimate
business interests of the Company. Employee further acknowledges that, by virtue of the grant of this access and
training, Employee’s contemporaneous or subsequent engagement with any business that is competitive with the
Company, or any circumvention of Company’s services by Employee, will cause the Company great and irreparable
harm. Employee further acknowledges that Employee enters into this non-competition provision with the intent to
be legally bound by it.

In exchange for the offer of employment, access to Company’s Confidential Information and Trade Secrets, and the
provision of specialized training, Employee covenants and agrees that so long as Employee is employed by the
Company and for a period of twelve (12) months thereafter, Employee will not, without the express written
consent of the Company, offer or provide the same or substantially similar services as Employee performed for the
Company, for or on behalf of:

        Company’s Client (defined as the entity that has engaged WTS to perform services at the location at which
         Employee has been hired (whether by WTS or Client), inclusive of any entity which may subsequently
         engage you for services at that same location);
        Client’s Customers (defined as those individuals or entities with whom Employee was introduced to or
         otherwise had contact in the course of Employee’s employment with Company); or
        Company’s Locations (defined as any business, firm, corporation, organization, individual, or other entity
         which has formerly engaged Company to operate or manage a business which offers substantially similar
         services as those of Client).

In addition to the above, all full-time management positions shall not, without the express written consent of the
Company, offer or provide the same or substantially similar services as Employee performed for the Company, for
or on behalf of:

        Company’s Competitors (defined as any business, firm, corporation, organization, individual, or other
         entity which operates or manages a business which offers substantially similar services as those of Client
         or Company).

These restrictions shall apply to businesses or operations within a twenty-five mile radius from the location at
which Employee is hired. Employee acknowledges that the restrictions imposed by this provision are fully
understood and will not preclude Employee from becoming gainfully employed following a termination of
Employee’s employment with the Company. This non-competition provision shall be enforced to the fullest extent
of the laws of the state in which the Employee is employed and shall be subject to the exclusive jurisdiction of the
federal and state courts located in Montgomery County, Maryland.

Acknowledged and accepted:
Signature (By checking the box below you are applying your signature and you agree to this Applicant Statement).
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                                 3200 Tower Oaks Blvd. Suite 400 Rockville, MD 20852
                                      (Phone) 301-622-7800 (Fax) 301-622-3373


Dear Seth Musselman:
On behalf of WTS International, Inc., I am pleased to extend a conditional offer of employment for the position of
Bartender at Epperson.
We would like you to start work on 9/6/2019. This is a(n) Part Time position. In this capacity you will be paid a rate
as follows:

        USD $5.50 per Hour for Regular Rate
        USD $10.00 per Hour for Training/Meetings
         per for
         per for
         per for
For instructional positions, all service, class, or session rates include all time spent setting up for the service, class
or session and after service, class or session clean up. The offer described above is contingent upon the results of
your reference/background check/drug screen, if applicable.

A summary of your applicable benefits will be given to you with any required new hire paperwork. If you have any
questions, please contact the Human Resources Department. The telephone number is301-622-7800.

On or before your first day of work you will be required to complete all new hire paperwork. As part of our new
hire process, you will be asked to complete a Form I-9 in compliance with the Immigration Reform and Control Act.
As part of this compliance, you must present us with documents which identify you and indicate you are eligible to
work in the United States. If you have any questions about this documentation, please contact the Human
Resources department.

Just as you retain the right to resign, without notice or cause, WTS International, Inc. has the same right with
respect to termination. Your employment is for no definite term, regardless of any oral or written statement by
any WTS International, Inc. officer or representative.

We look forward to hearing from you about this offer. Please indicate your acceptance of our offer by signing
below and returning one copy and letter, with your original signature. This offer of employment will expire seven
days from the date of this letter 9/1/2019.

We believe WTS International, Inc. is an outstanding organization and you will become a valuable, enthusiastic
member of our team. Welcome to WTS international, Inc.

Sincerely,

Aaron Taylor, WTS International, Inc.



Acknowledged and accepted:
Signature (By checking the box below you are applying your signature and you agree to this Applicant Statement).

                     Seth Musselman                                                 9/1/2019 3:11 PM
Case 8:20-cv-01245-CEH-AEP Document 1-1 Filed 05/29/20 Page 4 of 8 PageID 19



Employee acknowledges and agrees that WTS International, Inc. (hereafter, “Company”) is engaged in a highly
competitive business and will be given access to Confidential Information, Trade Secrets, and specialized training
and methods in the course of employment. Employee further acknowledges that the protection and secrecy of
Company’s Confidential Information, Trade Secrets, and specialized training and methods constitutes legitimate
business interests of the Company. Employee further acknowledges that, by virtue of the grant of this access and
training, Employee’s contemporaneous or subsequent engagement with any business that is competitive with the
Company, or any circumvention of Company’s services by Employee, will cause the Company great and irreparable
harm. Employee further acknowledges that Employee enters into this non-competition provision with the intent to
be legally bound by it.

In exchange for the offer of employment, access to Company’s Confidential Information and Trade Secrets, and the
provision of specialized training, Employee covenants and agrees that so long as Employee is employed by the
Company and for a period of twelve (12) months thereafter, Employee will not, without the express written
consent of the Company, offer or provide the same or substantially similar services as Employee performed for the
Company, for or on behalf of:

        Company’s Client (defined as the entity that has engaged WTS to perform services at the location at which
         Employee has been hired (whether by WTS or Client), inclusive of any entity which may subsequently
         engage you for services at that same location);
        Client’s Customers (defined as those individuals or entities with whom Employee was introduced to or
         otherwise had contact in the course of Employee’s employment with Company); or
        Company’s Locations (defined as any business, firm, corporation, organization, individual, or other entity
         which has formerly engaged Company to operate or manage a business which offers substantially similar
         services as those of Client).

In addition to the above, all full-time management positions shall not, without the express written consent of the
Company, offer or provide the same or substantially similar services as Employee performed for the Company, for
or on behalf of:

        Company’s Competitors (defined as any business, firm, corporation, organization, individual, or other
         entity which operates or manages a business which offers substantially similar services as those of Client
         or Company).

These restrictions shall apply to businesses or operations within a twenty-five mile radius from the location at
which Employee is hired. Employee acknowledges that the restrictions imposed by this provision are fully
understood and will not preclude Employee from becoming gainfully employed following a termination of
Employee’s employment with the Company. This non-competition provision shall be enforced to the fullest extent
of the laws of the state in which the Employee is employed and shall be subject to the exclusive jurisdiction of the
federal and state courts located in Montgomery County, Maryland.

Acknowledged and accepted:
Signature (By checking the box below you are applying your signature and you agree to this Applicant Statement).
Case 8:20-cv-01245-CEH-AEP Document 1-1 Filed 05/29/20 Page 5 of 8 PageID 20




                                 3200 Tower Oaks Blvd. Suite 400 Rockville, MD 20852
                                      (Phone) 301-622-7800 (Fax) 301-622-3373


Dear DANIEL RIVERA:
On behalf of WTS International, Inc., I am pleased to extend a conditional offer of employment for the position of
Bartender at Epperson.
We would like you to start work on 6/14/2019. This is a(n) Part Time position. In this capacity you will be paid a
rate as follows:

        USD $5.33 per Hour for Regular Rate
        USD $10.00 per Hour for Training/Meetings
         per for
         per for
         per for
For instructional positions, all service, class, or session rates include all time spent setting up for the service, class
or session and after service, class or session clean up. The offer described above is contingent upon the results of
your reference/background check/drug screen, if applicable.

A summary of your applicable benefits will be given to you with any required new hire paperwork. If you have any
questions, please contact the Human Resources Department. The telephone number is301-622-7800.

On or before your first day of work you will be required to complete all new hire paperwork. As part of our new
hire process, you will be asked to complete a Form I-9 in compliance with the Immigration Reform and Control Act.
As part of this compliance, you must present us with documents which identify you and indicate you are eligible to
work in the United States. If you have any questions about this documentation, please contact the Human
Resources department.

Just as you retain the right to resign, without notice or cause, WTS International, Inc. has the same right with
respect to termination. Your employment is for no definite term, regardless of any oral or written statement by
any WTS International, Inc. officer or representative.

We look forward to hearing from you about this offer. Please indicate your acceptance of our offer by signing
below and returning one copy and letter, with your original signature. This offer of employment will expire seven
days from the date of this letter 6/10/2019.

We believe WTS International, Inc. is an outstanding organization and you will become a valuable, enthusiastic
member of our team. Welcome to WTS international, Inc.

Sincerely,

Aaron Taylor, WTS International, Inc.



Acknowledged and accepted:
Signature (By checking the box below you are applying your signature and you agree to this Applicant Statement).

                       Daniel Rivera                                              6/11/2019 11:03 AM
Case 8:20-cv-01245-CEH-AEP Document 1-1 Filed 05/29/20 Page 6 of 8 PageID 21



Employee acknowledges and agrees that WTS International, Inc. (hereafter, “Company”) is engaged in a highly
competitive business and will be given access to Confidential Information, Trade Secrets, and specialized training
and methods in the course of employment. Employee further acknowledges that the protection and secrecy of
Company’s Confidential Information, Trade Secrets, and specialized training and methods constitutes legitimate
business interests of the Company. Employee further acknowledges that, by virtue of the grant of this access and
training, Employee’s contemporaneous or subsequent engagement with any business that is competitive with the
Company, or any circumvention of Company’s services by Employee, will cause the Company great and irreparable
harm. Employee further acknowledges that Employee enters into this non-competition provision with the intent to
be legally bound by it.

In exchange for the offer of employment, access to Company’s Confidential Information and Trade Secrets, and the
provision of specialized training, Employee covenants and agrees that so long as Employee is employed by the
Company and for a period of twelve (12) months thereafter, Employee will not, without the express written
consent of the Company, offer or provide the same or substantially similar services as Employee performed for the
Company, for or on behalf of:

        Company’s Client (defined as the entity that has engaged WTS to perform services at the location at which
         Employee has been hired (whether by WTS or Client), inclusive of any entity which may subsequently
         engage you for services at that same location);
        Client’s Customers (defined as those individuals or entities with whom Employee was introduced to or
         otherwise had contact in the course of Employee’s employment with Company); or
        Company’s Locations (defined as any business, firm, corporation, organization, individual, or other entity
         which has formerly engaged Company to operate or manage a business which offers substantially similar
         services as those of Client).

In addition to the above, all full-time management positions shall not, without the express written consent of the
Company, offer or provide the same or substantially similar services as Employee performed for the Company, for
or on behalf of:

        Company’s Competitors (defined as any business, firm, corporation, organization, individual, or other
         entity which operates or manages a business which offers substantially similar services as those of Client
         or Company).

These restrictions shall apply to businesses or operations within a twenty-five mile radius from the location at
which Employee is hired. Employee acknowledges that the restrictions imposed by this provision are fully
understood and will not preclude Employee from becoming gainfully employed following a termination of
Employee’s employment with the Company. This non-competition provision shall be enforced to the fullest extent
of the laws of the state in which the Employee is employed and shall be subject to the exclusive jurisdiction of the
federal and state courts located in Montgomery County, Maryland.

Acknowledged and accepted:
Signature (By checking the box below you are applying your signature and you agree to this Applicant Statement).
Case 8:20-cv-01245-CEH-AEP Document 1-1 Filed 05/29/20 Page 7 of 8 PageID 22




                                 3200 Tower Oaks Blvd. Suite 400 Rockville, MD 20852
                                      (Phone) 301-622-7800 (Fax) 301-622-3373


Dear JASON RANDO:
On behalf of WTS International, Inc., I am pleased to extend a conditional offer of employment for the position of
Bar Back at Epperson.
We would like you to start work on 6/17/2019. This is a(n) Part Time position. In this capacity you will be paid a
rate as follows:

        USD $10.00 per Hour for Regular Rate
         per for
         per for
         per for
         per for
For instructional positions, all service, class, or session rates include all time spent setting up for the service, class
or session and after service, class or session clean up. The offer described above is contingent upon the results of
your reference/background check/drug screen, if applicable.

A summary of your applicable benefits will be given to you with any required new hire paperwork. If you have any
questions, please contact the Human Resources Department. The telephone number is301-622-7800.

On or before your first day of work you will be required to complete all new hire paperwork. As part of our new
hire process, you will be asked to complete a Form I-9 in compliance with the Immigration Reform and Control Act.
As part of this compliance, you must present us with documents which identify you and indicate you are eligible to
work in the United States. If you have any questions about this documentation, please contact the Human
Resources department.

Just as you retain the right to resign, without notice or cause, WTS International, Inc. has the same right with
respect to termination. Your employment is for no definite term, regardless of any oral or written statement by
any WTS International, Inc. officer or representative.

We look forward to hearing from you about this offer. Please indicate your acceptance of our offer by signing
below and returning one copy and letter, with your original signature. This offer of employment will expire seven
days from the date of this letter 6/11/2019.

We believe WTS International, Inc. is an outstanding organization and you will become a valuable, enthusiastic
member of our team. Welcome to WTS international, Inc.

Sincerely,

Aaron Taylor, WTS International, Inc.



Acknowledged and accepted:
Signature (By checking the box below you are applying your signature and you agree to this Applicant Statement).

                        Jason Rando                                               6/13/2019 11:37 AM
Case 8:20-cv-01245-CEH-AEP Document 1-1 Filed 05/29/20 Page 8 of 8 PageID 23



Employee acknowledges and agrees that WTS International, Inc. (hereafter, “Company”) is engaged in a highly
competitive business and will be given access to Confidential Information, Trade Secrets, and specialized training
and methods in the course of employment. Employee further acknowledges that the protection and secrecy of
Company’s Confidential Information, Trade Secrets, and specialized training and methods constitutes legitimate
business interests of the Company. Employee further acknowledges that, by virtue of the grant of this access and
training, Employee’s contemporaneous or subsequent engagement with any business that is competitive with the
Company, or any circumvention of Company’s services by Employee, will cause the Company great and irreparable
harm. Employee further acknowledges that Employee enters into this non-competition provision with the intent to
be legally bound by it.

In exchange for the offer of employment, access to Company’s Confidential Information and Trade Secrets, and the
provision of specialized training, Employee covenants and agrees that so long as Employee is employed by the
Company and for a period of twelve (12) months thereafter, Employee will not, without the express written
consent of the Company, offer or provide the same or substantially similar services as Employee performed for the
Company, for or on behalf of:

        Company’s Client (defined as the entity that has engaged WTS to perform services at the location at which
         Employee has been hired (whether by WTS or Client), inclusive of any entity which may subsequently
         engage you for services at that same location);
        Client’s Customers (defined as those individuals or entities with whom Employee was introduced to or
         otherwise had contact in the course of Employee’s employment with Company); or
        Company’s Locations (defined as any business, firm, corporation, organization, individual, or other entity
         which has formerly engaged Company to operate or manage a business which offers substantially similar
         services as those of Client).

In addition to the above, all full-time management positions shall not, without the express written consent of the
Company, offer or provide the same or substantially similar services as Employee performed for the Company, for
or on behalf of:

        Company’s Competitors (defined as any business, firm, corporation, organization, individual, or other
         entity which operates or manages a business which offers substantially similar services as those of Client
         or Company).

These restrictions shall apply to businesses or operations within a twenty-five mile radius from the location at
which Employee is hired. Employee acknowledges that the restrictions imposed by this provision are fully
understood and will not preclude Employee from becoming gainfully employed following a termination of
Employee’s employment with the Company. This non-competition provision shall be enforced to the fullest extent
of the laws of the state in which the Employee is employed and shall be subject to the exclusive jurisdiction of the
federal and state courts located in Montgomery County, Maryland.

Acknowledged and accepted:
Signature (By checking the box below you are applying your signature and you agree to this Applicant Statement).
